                         UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW HAMPSHIRE

                                               )
SUSAN LEHTONEN                                 )
     Plaintiff,                                )
                                               )
vs.                                            )     Civil Action No.
                                               )
JAT CONSULTING                                 )
     Defendant,                                )
                                               )


                   COMPLAINT AND DEMAND FOR JURY TRIAL

      NOW COMES the Plaintiff, SUSAN LEHTONEN, by and through her attorneys,

the CONSUMER RIGHTS LAW FIRM, PLLC, and for her Complaint against the

Defendant, JAT CONSULTING, Plaintiff states as follows:



                                     I. INTRODUCTION

      1. This is an action for actual and statutory damages brought by Plaintiff, Susan

         Lehtonen, an individual consumer, against Defendant, JAT Consulting and their

         agents for violations of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692

         et seq. (hereinafter ‘‘FDCPA’’), which prohibits debt collectors from engaging in

         abusive, deceptive, and unfair practices.



                                      II. JURISDICTION

      2. Jurisdiction of this court arises under 15 U.S.C. § 1692k(d) and 28 U.S.C. § 1337.

      3. Because Defendant conducts business in New Hampshire, personal jurisdiction is

         established.




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4. Declaratory relief is available pursuant to 28 U.S.C. §§ 2201 and 2202.

5. Venue in is proper in this district pursuant to 28 U.S.C. § 1391(b)(2) in that a

     substantial part of the events or omissions giving right to the claim occurred in

     this District.

                                     III. PARTIES

6. Plaintiff, Susan Lehtonen (hereinafter “Plaintiff”), is an adult individual who was

     at all relevant times residing in New Ipswich, Hillsborough County, State of New

     Hampshire 03071.

7. At all relevant times, Plaintiff was a “consumer” as that term is defined by 15

     U.S.C. § 1692a(3).

8. Upon information and belief the Defendant, JAT Consulting, (hereinafter

     “Defendant”) is a business entity engaged in the business of collecting debt in this

     state and in several other states, with its principal place of business located at

     20422 Beach Blvd., Suite 240, Huntington Beach, Orange County, State of

     California 92648.

9.   The principal purpose of Defendant’s business is the collection of debts allegedly

     owed to third parties.

10. Defendant regularly collects, or attempts to collect, debts allegedly owed to third

     parties.

11. During the course of its efforts to collect debts allegedly owed to third parties,

     Defendant sends to alleged debtors, bills, statements, and/or other correspondence

     via the mail and/or electronic mail and initiates contact with alleged debtors via

     various means of telecommunication, such as telephone and facsimile.




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12. At all relevant times, Defendant acted as a debt collector as that term is defined by

   15 U.S.C. § 1692a(6).

13. At all relevant times, Defendant acted through it duly authorized agents,

   employees, officers, members, directors, heirs, successors, assigns, principals,

   trustees, sureties, subrogees, representatives, and insurers.



                           IV. FACTUAL ALLEGATIONS

14. The debt Defendant is attempting to collect on is an alleged obligation of a consumer

   to pay money arising out of a transaction in which the money, property, insurance or

   services which are the subject of the transaction are primarily for personal, family, or

   household purposes, whether or not such obligation has been reduced to judgment.

15. The alleged debt meets the definition of a “debt” under 15 U.S.C. § 1692a(5).

16. Upon information and belief, at some point the alleged debt was consigned,

   placed or otherwise transferred to Defendant for collection from Plaintiff.

17. Within one (1) year preceding the date of this Complaint, Defendant, in

   connection with the collection of the alleged debt, communicated at a time or

   place known or which should be known to be inconvenient to the Plaintiff.

18. On or about February 5, 2019, the Defendant called Plaintiff 4 times.

19. Plaintiff answered the second call from Defendant.

20. After Plaintiff terminated the second phone call on February 5, 2019, Defendant

   proceeded to call her 2 more times that day.

21. Defendant called Plaintiff a deadbeat.




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22. Within one (1) year preceding the date of this Complaint, Defendant, in

   connection with the collection of the alleged debt, contacted Plaintiff and

   threatened to garnish Plaintiff’s wages.

23. Defendant has no standing to commence garnishment proceedings on behalf of

   the creditor.

24. Defendant is a debt collection company and as a debt collection company

   attempting to collection an alleged debt, Defendant can only refer the matter back

   to the creditor with a recommendation that the original creditor attempt legal

   proceedings which could result in garnishment.

25. The representations made to Plaintiff by Defendant regarding garnishment were

   false.

26. Within one (1) year preceding the date of this Complaint, Defendant, in

   connection with the collection of the alleged debt, contacted Plaintiff and

   threatened to take legal action against Plaintiff.

27. Defendant has no standing to commence legal proceedings on behalf of the

   creditor.

28. Defendant is a debt collection company and as a debt collection company

   attempting to collection an alleged debt, Defendant can only refer the matter back

   to the creditor with a recommendation that the original creditor attempt legal

   proceedings.

29. The representations made to Plaintiff by Defendant regarding legal proceedings

   were false.

30. The natural consequences of Defendant’s statements and actions were to unjustly

   condemn and vilify Plaintiff for her non-payment of the debt she allegedly owes.


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31. The natural consequences of Defendant’s statements and actions were to produce an

   unpleasant and/or hostile situation between Defendant and Plaintiff.

32. Defendant utilized unfair and unconscionable means to collect on Plaintiff’s

   alleged debt, by harassing Plaintiff and make threats that Defendant take.



                             V. CAUSES OF ACTION

                           COUNT I
          VIOLATIONS OF THE FDCPA- 15 U.S.C. § 1692, et seq.

33. Plaintiff repeats and realleges and incorporates by reference to the foregoing

   paragraphs.

34. The foregoing acts and omissions of each Defendant and their agents constitute

   numerous and multiple violations of the FDCPA including but not limited to, each

   and every one of the provisions of the FDCPA, 15 U.S.C. § 1692 et seq., cited

   above, and below, with respect to the Plaintiff:

           (a) Defendant violated §1692c(a)(1) of the FDCPA by communicating at

              a time or place known or which should be known to be inconvenient to

              the Plaintiff; and


           (b) Defendant violated §1692d of the FDCPA by engaging in conduct the

              natural consequences of which is to harass, oppress, or abuse any

              person in connection with the collection of an alleged debt; and


           (c) Defendant violated §1692d(2) of the FDCPA by using obscene or

              profane language or language the natural consequences of which is to




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              abuse the hear or reader in connection with the collection of an alleged

              debt; and


          (d) Defendant violated §1692d(5) of the FDCPA by causing a telephone to

              ring or engaging any person in telephone conversation repeatedly

              and/or continuously with the intent to annoy, abuse or harass any

              person at the called number; and


          (e) Defendant violated §1692e of the FDCPA by using a false, deceptive,

              or misleading representation or means in connection with the

              collection of the alleged debt; and


          (f) Defendant violated §1692e(4) of the FDCPA by giving the false

              representation or implication that nonpayment of the alleged debt will

              result in the garnishment of wages of any person when such action is

              unlawful and the Defendant does not intend to take such action; and


          (g) Defendant violated §1692e(5) of the FDCPA by threatening to take

              action that the Defendant does not intend to take and/or the Defendant

              cannot legally take; and


          (h) Defendant violated §1692f of the FDCPA by using unfair or

              unconscionable means in connection with the collection of an alleged

              debt.


35. Defendant’s acts as described above were done intentionally with the purpose of

   coercing Plaintiff to pay the alleged debt.



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   36. As a result of the foregoing violations of the FDCPA, Defendant is liable to

       Plaintiff for declaratory judgment that Defendant’s conduct violated the FDCPA,

       actual damages pursuant to 15 U.S.C. § 1692k(a)(1), statutory damages in an

       amount up to one thousand dollars ($1,000.00) pursuant to 15 U.S.C. § 1692

       (a)(2)(A), and reasonable costs and attorney fees pursuant to 15 U.S.C. 15 §

       1692k(a)(3), from each Defendant herein.


                          VI. PRAYER FOR RELIEF
WHEREFORE, Plaintiff respectfully requests that judgment be entered against each

Defendant for the following:

   A. Declaratory judgment Defendant’s conduct violated the FDCPA.

   B. Actual damages from Defendant pursuant to 15 U.S.C. § 1692k(a)(1) in an

       amount to be determined at trial and for Plaintiff.

   C. Statutory damages of $1,000.00 from Defendant pursuant to 15 U.S.C. §

       1692k(a)(2)(A).

   D. Costs and reasonable attorney fees from Defendant and for Plaintiff pursuant to

       15 U.S.C. § 1692k(a)(3).

   E. Punitive damages in such amount as is found appropriate.

   F. For Such other and further relief as the Court may deem just and proper.


                            VII.   DEMAND FOR JURY TRIAL


Please take notice that Plaintiff, Susan Lehtonen, demands trial by jury in this action on

all issues so triable. US Const. amend 7. Fed.R.Civ.P. 38.


                                              RESPECTFULLY SUBMITTED,



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Dated: February 18, 2019   s/Kevin J. Buckley, Jr., Esq.
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